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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,


-against-                                                   04-CR-402


YASSIN MUHIDDIN AREF
and MOHAMMED MOSHARREF HOSSAIN,

                                     Defendants.


_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                       DECISION & ORDER

       Defendants YASSIN MUHIDDIN AREF and MOHAMMED MOSHARREF HOSSAIN having

each made motions for judgments of acquittal pursuant to Fed. R. Crim. P. 29(a) at the close of

Government’s case-in-chief, at the close of the defendants’ proof, and at the close of all evidence

but before the case was submitted to the jury; and the Court having reserved decision on those

motions; and the Court, having considered the evidence at the time each ruling was reserved and

the arguments of counsel, hereby DENIES each motion. Defendants are granted an exception to

each ruling.

IT IS SO ORDERED

DATED:October 11,2006
